46 F.3d 1147
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Edward Allen HEATH, Defendant-Appellant.
    No. 94-50433.
    United States Court of Appeals, Ninth Circuit.
    Submitted:  Jan. 25, 1995.*Decided:  Jan. 31, 1995.
    
      Before:  WALLACE, Chief Judge, HALL and KLEINFELD, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Edward Allen Heath appeals his sentence under the Sentencing Guidelines imposed following his conviction for bank robbery, in violation of 18 U.S.C. Sec. 2113(a).  He contends that the district court improperly denied his request for a downward departure on account of his tragic family background.  We lack jurisdiction to review the district court's discretionary refusal to depart downward.  See United States v. Garcia-Garcia, 927 F.3d 489, 491 (9th Cir. 1991).
    
    
      3
      DISMISSED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed. R. App.  P. 34(a); 9th Cir.  R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.  R. 36-3
      
    
    